 

 

Case: 1:14-cv-08048 Document #: 1 Filed: 10/14/14 Page 1 "RECEIVED

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THOMAS G. BRUTON

 

 

 

 

 

UNITED STATES DISTRICT COURT Cen at
NORTHERN DISTRICT OF ILLINOIS K, U.S. DISTRICT COU
EASTERN DIVISION
Wa cic, fé vboms
14 C 8048
Judge James B. Zagel
(Enter above the full name
of the plaintiff or plaintiffs in Magistrate Judge Maria Valdez
this action) / 8 oo.
VS. Case No: eros: sol,
? . (To be supplied by the Clerk of this Court)
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Tiwva.c

 

 

 

 

 

(Enter above the full name of ALL
defendants in this action. Do not

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CHECK ONE ONLY:
COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
US. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("“BIVENS": "ACTION ) TITLE
— 28SECTION 1331 U.S. Code (federal defendants) -
OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

 

 

 
Case: 1:14-cv-08048 Document #: 1 Filed: 10/14/14 Page 2 of 6 PagelD #:2

Plaintiff(s):
A. Name: PH rcquimigte Thema >

B.

C. Prisoner identification number: LLL2¢8 = 20146731325

List all aliases: Mico 2 ThemaS Mg Cqacugle “Cheon
E i

 

D. Place of present confinement: _Weotecs C.C.

E. Address: “Soc Coute G9 MUO. Ske clind soy e353

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, 1.D.
number, place of confinement, and current address according to the above format on a

separate sheet of paper.)

Defendant(s): °
(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space

for two additional defendants is provided in B and C.)
A. Defendant: bx Séhiec Ceviews Baud

Title: |

 

Place of Employment:
B. Defendant: Ed: One

Title:

 

Place of Employment:
Cc. Defendant:

Title:

 

Place of Employment:

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

Revised 972007

 

 
 

 

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Case: 1:14-cv-08048 Document #: 1 Filed: 10/14/14 Page 3 of 6 PagelD #:3

List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal

courtin the United States:

A.

[.

 

Namie of case and docket number: 1655 om} Con Sub _~ I7¢rloss9o|

Approximate date of filing lawsuit: B- 5 -— 14

List all plaintiffs (if you had co-p laintiffs), including any aliases:
Mearquiyié Whom

List all defendants: ~~. \. 0.6 - Pesower Ceviesi Recard

Court in which the lawsuit was filed (if fear court, name the district; if state court,

name the county): Byroeary , 2p ky ic
. ~

 

Name of judge to whom case was assigned:

 

Basic claim made:

a

Disposition of this case (for example: Was the case dismissed? Was it appealed?

Is it still pending?):

 

Approximate date of disposition:

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE

_ ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME

FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-

PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED

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Case: 1:14-cv-08048 Document #: 1 Filed: 10/14/14 Page 4 of 6 PagelD #:4

[V. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each chim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary, )

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Case: 1:14-cv-08048 Document #: 1 Filed: 10/14/14 Page 6 of 6 PagelD #:6

V. Relief:
State briefly exert what you want the court to do for you. Make no legal arguments. Cite

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eld’ me ayer nO4 Racuic ire Gad the Sbes6 1 wert Roi Say ty

 

Cl ves Wwno

Vi. The plaintiff demands that the case be tried by a jury.

CERTIFICATION

By signing this Complaint, | certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. ] understand that if this certification is not correct, | may be

subject to sanctions by the Court.

Signed this __day of ,20

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Xi le é Mates

 

2614-6931 - 327

(LD. Number)

 

 

(Address)

Revised 9/2007

 

 
